             Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 1 of 8




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




 IN RE PETROBRAS SECURITIES
 LITIGATION


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                     ~ [PRO~] PROTECTIVE ORDER
                                 7/
        The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this action, it is therefore hereby

        ORDERED that any person subject to this Order - including without limitation the

parties to this action, their representatives, agents, experts and consultants, all third parties

providing discovery in this action, and all other interested persons with actual or constructive

notice of this Order -- shall adhere to the following terms, upon pain of contempt:

        1.       Any person subject to this Order who receives from any other person any

"Discovery Material" (i.e., information of any kind provided in the course of discovery in this

action) that is designated as "Confidential" pursuant to the terms of this Order shall not disclose

such Confidential Discovery Material to anyone else except as expressly permitted hereunder.

       2.       The person producing any given Discovery Material may designate as

Confidential only such portion of such material as consists of:

       (a)       previously nondisclosed financial information (including without limitation

profitability reports or estimates, percentage fees, design fees, royalty rates, minimum guarantee

payments, sales reports and sale margins);
   Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 2 of 8




         (b)   previously nondisclosed material relating to ownership or contiol of any non-

public company;

         (c)   previously nondisclosed business plans, product development information,

proprietary research, or marketing plans;

         (d)   any information of a personal or intimate nature regarding any individual; or

         (e)   any other category of information hereinafter given confidential status by the

Court.

         3.    With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the producing person or that person's counsel may designate

such portion as "Confidential" by stamping or otherwise clearly marking as 11 Confidential 11 the

protected portion in a manner that will not interfere with legibility or audibility, and by also

producing for future public use another copy of said Discovery Material with the confidential

information redacted. With respect to deposition transcripts and exhlbits1 a producing person or

that person's counsel may indicate on the record that a question calls for Confidential

information, in which case the transcript of the designated testimony shall be bound in a separate

volume and marked "Confidential Information Governed by Protective Order" by the reporter.

         4.    If at any time prior to the trial of this action, a producing person realizes that some

portion[s] of Discovery Material that that person previously produced without limitation should

be designated as Confidential. he may so designate by so apprising all parties in writing, and

such designated portion[s] of the Discovery Material will thereafter be treated as Confidential

under the tenns of this Order.




                                                  2
    Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 3 of 8




       S.      Except as provided in paragraph 16 of this Protective Order, no person subject to

this Order other than the producing person shalJ disclose any of the Discovery Material

designated by the producing person as Confidential to any other person whomsoever, except to:

       (a)     the parties to this action;

       (b)     counsel retained specifically for this action, including any paralegal, clerical and

other assistant employed by such counsel and assigned to this matter;

       (c)     as to any document, its author, its addressee, and any other person indicated on

the face of the docwnent as having received a copy;

       (d)     any witness who counsel for a party in good faith believes may be called to testify

at trial or deposition in this action, provided such person has first executed a Non-Disclosure

Agreement in the form· annexed as an Exhibit hereto;

       (e)     any person retained by a party to serve as nn expert witness or otherwise provide

specialized advice to counsel in connection with this action, provided such person has first

executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

       (t)     stenographers engageq to transcribe depositions conducted in this action; and

       (g)     the Court and its support personnel.

       6.      Prior to any disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs S(d) or S(e) above, such person shall be provided by counsel with a

copy of this Protective Order and shall sign a Non-Disclosure Agreement in the fonn annexed as

an Exhibit hereto stating that that person has read this Order and agrees to be bound by its tenns.

Said counsel shall retain each signed NonwDisclosure Agreement, hold It in escrow, and produce

it to opposing counsel either prior to such person being permitted to testify (at deposition or trial)

or at the conclusion of the case, whichever comes first.



                                                  3
    Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 4 of 8




        7.      AJI Confidential Discovery Material filed with the Court, and all portions of

pleadings, motions or other papers filed with the Court that disclose such Confidential Discovery

Material, shall be filed under seal with the Clerk of the Court and kept under seal until further

order of the Court. The parties will use their best efforts to minimize such sealing. In any event,

any party filing a motion or any other papers with the Court under seal shall also publicly file a

redacted copy of the same, via the Court's Electronic Case Filing system, that regacts only the

Confidential Discovery Material itself, and not text that in no material way reveals the

Confidential Discovery Material.

        8.      Any party who either objects to any designation of confidentiality, or who, by

contrast, requests still further limits on disclosure (such as 11 attomeys' eyes only" in extraordinary

circumstances), may at any time prior to the trial of this action serve upon counsel for the

designating person a written notice stating with particularity the grounds of the objection or

request. If agreement cannot be rea_ched promptly, counsel for all affected persons will convene a

joint telephone call with the Court to obtain a ruling.

       9.       All persons are hereby placed on notice that the Court is unlikely to seal or

otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial,

even if such material has previously been sealed or designated as Confidential. The Court also

retains unfettered discretion whether or not to afford confidential treatment to any Confidential

Document or information contained in any Confidential Document submitted to the Court in

connection with any motion, application, or proceeding that may result in an order and/or

decision by the Court.




                                                   4
    Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 5 of 8




       10.     Each person who has access to Discovery Material that has been designated as

Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure

of such material.
       11.     If, in coMection with this litigation, a party inadvertently discloses infonnation

subject to a claim of attorney-client privilege or attorney work product protection ("Inadvertently

Disclosed Information"), such disclosure shall not constitute or be deemed a waiver or forfeiture

of any claim of privilege or work product protection with respect to the Inadvertently Disclosed

Information and its subject matter.

       12.     If a disclosing party makes a claim of inadvertent disclosure, the receiving party

shall, within five business days, return or destroy all copies of the Inadvertently Disclosed

Information, and provide a certification of counsel that all such information has been returned or

destroyed.

       13.     Within five business days of the notification that such Inadvertently Disclosed

Information has been returned or destroyed, the disclosing party shall produce a privilege log

with respect to the Inadvertently Disclosed Information.

       14.     The receiving party may move the Cowt for an Order compelling production of

the Inadvertently Disclosed lnfonnation. The motion shall be filed under seal, and shall not

assert as a ground for entering such an Order the fact or circumstances of the inadvertent

production.

       15.     The disclosing party retains the burden of establishing the privileged or protected

nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of

any party to request an in camera review of the Inadvertently Disclosed Information.




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  Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 6 of 8




        16.     Upon agreement in writing to be bound by the terms of this Protective Order,

parties to each of the currently filed individual actions and any case which relates to the same

subject matter as any of the foregoing that is subsequently filed in or transferred to this Court and

assigned to the undersigned (collectively, the "Individual Actions"), their representatives, agents,

experts and consultants may receive Confidential Discovery Material.

        17.    This Protective Order shall survive the tennination of the litigation. Within 30

days of the final disposition of this action, all Discovery Material designated as 11Confidential, 11

and all copies thereof, shall be promptly returned to the producing person, or, upon pennission of

the producing person, destroyed.

        18.    This Court shall retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.




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              TED AND AGREED.



 Jere                                                  Matthew Mustokoff
 Jo                                                    Richard Russo Jr.
 E m                                                   KESSLER TOPAZ MELTZER
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    Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 7 of 8




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Counsel for Petroleo Brasileiro S.A. -   Counsel for Underwriter Defendants
Petrobras and Theodore M Helms




SO ORDERED.

Dated:  OJ/cl
New York,
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          w York:                                  JED¥.rif/d:




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    Case 1:14-cv-09662-JSR Document 206 Filed 09/02/15 Page 8 of 8




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                        14--cv-9662 (JSR)

IN RE PETROBRAS SECURITIES
LITIGATION




                              NON-DISCLOSURE AGREEMENT

               I, - - - - - - - - - - acknowledge that I have read and understand the

Protective Order in this action governing the non-disclosure of those portions of Discovery

MateriaJ that have been designated as Confidential. I agree that I will not disclose such

Confidential Discovery Material to anyone other than for purposes of this litigation and that at

the conclusion of the litigation I will return all discovery information to the party or attorney

from whom J received it. By acknowledging these obligations under the Protective Order, I

understand that I am submitting myself to the jurisdiction of the United States District Court for

the Southern District of New York for the purpose of any issue or dispute arising hereunder and

that my willful violation of any term of the Protective Order could subject me to punishment for

contempt of Court.



Dated:
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